                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:05CR400-1-W

UNITED STATES OF AMERICA

      v.                                                        ORDER

CHARLES ROBERT CUMMINS,

                   Defendant.


        THIS MATTER IS BEFORE THE COURT on the Defendant’s “Motion for Travel

Expenses” (document #81) filed November 2, 2006. The Defendant seeks to modify the authorized

dates of travel in this Court’s October 27, 2006 Order.

        NOW THEREFORE, IT IS ORDERED:

        1. The subject Motion is GRANTED, that is, the United States Marshal is directed to make

travel arrangements for the Defendant from California to Charlotte, North Carolina between

November 6 and 16, 2006; and upon notification from defense counsel that the Defendant is ready

to return, to make travel arrangements from Charlotte, North Carolina back to his home in

California.

        2. Defense counsel (Mr. Weidner) is directed to contact Supervisory Deputy U.S. Marshal

Kelly M. Nesbit (704/344-6234 or 651-2250) and to provide any information necessary for the

United States Marshal to comply with the terms of this Order (including, in particular, identifying

the preferred date of travel).




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       3. The Clerk is directed to send copies of this Order to counsel for the parties (including Mr.

Weidner); to Mr. Nesbit; and to the Honorable Frank D. Whitney.

       SO ORDERED.

                                                 Signed: November 2, 2006




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